Joseph M. Wirth
Jasmyne M. Baynard
Ann C. Wirth
Amanda E. Melrood
Ryan T. Truesdale




June 28, 2024



Magistrate Judge Nancy Joseph
United States Courthouse Room 249
517 East Wisconsin Avenue
Milwaukee, WI 53202

RE:    Cole, et. al. v. City of Wauwatosa, et al., (Eastern District Case No. 23-CV-1321)
       Rivera, et al., v. City of Wauwatosa, et al., (Eastern District Case No. 23-CV-1330)

Dear Judge Joseph:

I write to inform you that Defense counsel conferred with Plaintiffs’ counsel and at the time of
this filing had not reached an agreement on the sanctions amount awarded to Defendants.

Sincerely,

WIRTH + BAYNARD
Attorneys for Defendants

/s/ Jasmyne M. Baynard
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